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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    ESTATE OF ASHLI BABBITT and
    AARON BABBITT, individually and on
    behalf of the ESTATE OF ASHLI BABBITT,

                       Plaintiffs,                     Case No. 1:24-cv-01701 (ACR)

                  v.

    UNITED STATES OF AMERICA,

                       Defendant.


                            MEMORANDUM OPINION AND ORDER

          A United States Capitol Police officer shot and fatally wounded Ashli Babbitt while both

were inside the U.S. Capitol on January 6, 2021. On January 5, 2024, Ms. Babbitt’s estate and

her husband, Aaron Babbitt (together, Plaintiffs), sued the United States under the Federal Tort

Claims Act (FTCA), 28 U.S.C. §§ 2671, et seq, for alleged torts arising out of that shooting.

Plaintiffs filed their suit in the U.S. District Court for the Southern District of California (S.D.

Cal.), where Mr. Babbitt resides.

          The United States moved on March 1, 2024, to transfer the case to the U.S. District Court

for the District of Columbia (D.D.C.). 1 Dkt. 5. Plaintiffs opposed, highlighting that the FTCA

accords a plaintiff’s choice of forum “considerable deference.” Dkt. 7 at 4. After reviewing the

FTCA’s venue provision and the relevant factors, Judge Cynthia A. Bashant granted the motion

to transfer on June 12, 2024. Dkt. 14 (the Transfer Order).




1
    The Court apologizes to the reader for this alphabet soup of abbreviations.
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       What happened next prompted Plaintiffs’ Motion to Retransfer. The Clerk of the S.D.

Cal. docketed the Transfer Order. Soon after, the case was electronically transferred to the

D.D.C., depriving the S.D. Cal. and the Ninth Circuit of jurisdiction. Plaintiffs complain that

this snap turn-around made it impossible to seek a writ of mandamus from the Ninth Circuit.

They assert that they now have no procedural mechanism to appeal the decision anywhere,

which is manifestly unjust. If this Court grants the Motion to Retransfer, Plaintiffs highlight, the

California courts would regain jurisdiction and they could seek a writ in the Ninth Circuit.

       Plaintiffs are mistaken. They are not at sea with no appellate lifeboat in sight. The D.C.

Circuit stands, or rather sits, ready to hear their appeal. Thus, the Court finds no manifest

injustice in the case’s procedural posture. Turning to the merits, the Court finds nothing

approaching error, much less the required clear error, in the Transfer Order. Indeed, were the

Court writing anew, it would reach the same conclusion as Judge Bashant. The Court therefore

DENIES Plaintiffs’ Motion to Retransfer Venue.

                                   I.      BACKGROUND

       A. Factual Background 2

       On January 5, 2021, Ashli Babbitt traveled to Washington, D.C. from her home in San

Diego, California, to attend the Women for America First rally scheduled for January 6, 2021.




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 Though there is serious disagreement as to why the shooting occurred, the parties do not
contest these bare facts. See Dkt. 31 at ¶¶ 8, 14.
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After the rally, Ms. Babbitt joined thousands of others in a march to the U.S. Capitol. 3 Her

husband, Aaron Babbitt, did not join her on the trip.

          After arriving at the Capitol, Ms. Babbitt entered the building and walked towards the

Lobby of the Speaker of the House, where a large crowd had gathered to protest the electoral

count. Two members of this crowd dislodged the glass panels in the lobby doors and the

sidelight next to the right door. Ms. Babbitt then raised herself into the opening of the right door

sidelight. When she did so, a member of the U.S. Capitol Police shot her. She died soon after.

          B. Procedural Background

          On January 5, 2024, the Estate of Ashli Babbitt and Aaron Babbitt, individually and on

behalf of the Estate of Ashli Babbitt, sued the United States under the FTCA. Dkt. 1. The

United States moved to transfer venue to this Court on March 1, 2024, pursuant to 28 U.S.C.

§ 1404(a). Dkt. 5. In support, it highlighted that (1) the events occurred in Washington, D.C.;

(2) D.C. is a convenient location for witnesses; (3) D.C. judges are better versed in D.C. tort law;

(4) both parties have counsel in D.C.; and (5) D.C. has a strong local interest in this case. Dkt. 5-

1 at 1.

          Plaintiffs opposed transfer. Dkt. 9. Plaintiffs conceded that Washington, D.C. is a proper

venue under the FTCA. Id. at 8. But they argued that the Court should deny transfer because

(1) the FTCA requires courts to give a plaintiff’s choice of forum “considerable deference”; (2)


3
  The word “capitol” derives from the Latin “capitolium,” meaning a city on a hill, but it is more
particularly associated with the great Roman temple dedicated to Jupiter Optimus Maximus on
the Capitoline Hill. In 1791, before the first publication of the District’s city map, Thomas
Jefferson replaced every reference to “Congress house” on the draft with “Capitol.” With this
change, “[i]nstead of a mere house for Congress, the nation would have a capitol, a place of
national purposes, a place with symbolic roots in the Roman Republic and steeped in its virtues
of citizenship and ancient examples of self-government.” S. Doc. No. 106-29, History of the
United States Capitol: A Chronicle of Design, Construction, and Politics, at 10 (2002).

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California is a convenient location for the witnesses; (3) Plaintiffs’ counsel is in California; (4)

electronic evidence is easily accessible from almost anywhere; (5) California judges can apply

Washington, D.C. tort law without undue effort; and (6) Southern California has a greater local

interest in the controversy. Id. at 8-19.

       For reasons the Court details below, Judge Cynthia A. Bashant granted the United States’

motion and signed the Transfer Order on June 10, 2024. The Clerk of the S.D. Cal. then entered

the Transfer Order on the court’s docket and transferred the case electronically to the D.D.C. on

June 12, 2024. Dkt. 14. Upon completion of the transfer, the S.D. Cal. and Ninth Circuit lost

jurisdiction to hear the case. Dkt. 21 at 4. The D.D.C. docketed the case on June 14, 2024.

       Plaintiffs claim, and Defendant does not contest, that they lacked sufficient time to file a

writ challenging the Transfer Order in the Ninth Circuit. And so on July 20, 2024, Plaintiffs filed

a motion here to retransfer venue to the California courts. Dkt. 21. If the Court grants retransfer,

the S.D. Cal. and Ninth Circuit will regain jurisdiction. And Plaintiffs can then petition the Ninth

Circuit for a writ of mandamus. Id. If the Court denies retransfer, Plaintiffs can appeal that

denial to the D.C. Circuit. See Hill v. Henderson, 195 F.3d 671, 677 (D.C. Cir. 1999).

                                   II.       LEGAL STANDARD 4

       Venue is proper under the FTCA “only in the judicial district where the plaintiff resides

or wherein the act or omission complained of occurred.” 28 U.S.C. § 1404(a). If the plaintiff

resides in one venue but the events occurred elsewhere, the court can transfer jurisdiction “for

the convenience of parties and witnesses[] and in the interest of justice” to a venue in which the

case “might have been brought.” Id. § 1404(b). District courts have “discretion […] to



4
 The following scorecard may be helpful. The S.D. Cal. is the “transferor court”; the Ninth
Circuit is the “transferor circuit”; the D.D.C. is the “transferee court”; and the D.C. Circuit is the
“transferee circuit.” The party that opposed venue is the “transferred party.”
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adjudicate motions for transfer according to an ‘individualized, case-by-case consideration of

convenience and fairness.’” Stewart Org., Inc. v. Ricoh Corp., 487 U.S. 22, 29 (1988) (quoting

Van Dusen v. Barrack, 376 U.S. 612, 622 (1964)).

          An order transferring venue is the “law of the case binding the [transferee] district court.”

Hill, 195 F.3d at 677. The transferee court cannot review the decision of the transferor court and

should not retransfer the case unless the transfer order was “clearly erroneous and would work a

manifest injustice.” Arizona v. California, 460 U.S. 605, 618 n.8 (1983). This demanding

standard avoids the “judicial ping pong” of constant venue transfers. FMC Corp. v. U.S. E.P.A.,

557 F. Supp. 2d 105, 113 (D.D.C. 2008) (cleaned up). Indeed, “transferee courts that feel

entirely free to revisit transfer decisions of a coordinate court threaten to send litigants into a

vicious circle of litigation.” Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 816

(1988).

                                          III.    ANALYSIS

          A. Plaintiffs Have Not Been Denied the Right to Appeal

          Plaintiffs argue that “[m]anifest injustice occurs when a party procedurally entitled to file

an appeal pursuant to 28 U.S.C. §1294 is deprived of that right […] before the transferred party

has an opportunity to file an appeal.” Dkt. 29 at 11. If Plaintiffs had been denied the right to

appeal, they might have a point. But that has not occurred.

          To understand why, it is useful to rehearse the life cycle of a transfer order. While

“[t]ransfer orders under §1404 are not final appealable orders,” a litigant can seek a writ of

mandamus from the transferor circuit if the transfer has not yet occurred. Hill, 195 F.3d at 676.

But once transfer is complete, the transferor circuit loses jurisdiction and can do nothing on the

transfer order. See id.; NB Imaging Sys., Inc. v. U.S. Dist. Court for the Eastern Dist. of Cal.,



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841 F.2d 297, 298 (9th Cir. 1988). Thus, to file a writ in the transferor circuit, the litigant must

file the writ before the district court clerk physically (or, these days, electronically) transfers the

case.

        If the transferred party does not have time to petition the transferor circuit, hope is not

lost. The transferred party can ask the transferee court to send the case back (i.e., retransfer) to

the transferor court. If the transferee court grants the motion, the case returns to the transferor

court and the transferor circuit regains jurisdiction to entertain a writ. If the transferee court

denies the motion, the transferred party can seek a writ of that denial in the transferee circuit to

obtain appellate review of the transfer. See Hill, 195 F.3d at 677. While this requires an extra

step—resolution of a motion to retransfer before the transferred party can seek a writ—the

outcome is the same: appellate review in a court “not […] bound by the decision of either lower

court.” Id.

        Plaintiffs thus are not without appeal rights. They have taken the initial step of moving

this Court to retransfer the case. And now the Court resolves the motion, denying it because

Plaintiffs have not shown—as they must to obtain retransfer—clear error by the transferor court

resulting in manifest injustice. Once this Order is docketed, Plaintiffs can petition the D.C.

Circuit for a writ to reverse it and instruct the Court to retransfer the case to the S.D. Cal.

        Plaintiffs’ real gripe appears to be that—for unstated reasons—they prefer to appeal to the

Ninth Circuit instead of the D.C. Circuit. If so, that preference is irrelevant for two reasons.

First, “[f]ederal courts comprise a single system applying a single body of law, and no litigant

has a right to have the interpretation of one federal court rather than that of another determine his

case.” Menowitz v. Brown, 991 F.2d 36, 40 (2d Cir. 1993) (cleaned up). Second, Plaintiffs face

an uphill (some might say, up-mountain) battle in either circuit. The Ninth Circuit and the D.C.



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Circuit each consider mandamus of a transfer order an extreme remedy, generally appropriate

only to correct “a clearly erroneous transfer order.” In re Bozic, 888 F.3d 1048, 1054 (9th Cir.

2018); see also In re Scott, 709 F.2d 717, 719 (D.C. Cir. 1983) (cleaned up) (calling mandamus

“a drastic [remedy], to be invoked only in extraordinary circumstances, [and] available on rare

occasions to review transfer orders”). Practically then, Plaintiffs lose no legal advantage by

appealing in the D.C. Circuit rather than the Ninth Circuit.

       B. The Transferor Court Did Not Err

       The Court now turns to the merits. Because the Transfer Order is the law of the case, the

Court can disturb it only if it contains clear error resulting in manifest injustice. See supra Part

II. The Transfer Order contains nothing of the sort. Judge Bashant considered the FTCA and

carefully weighed the relevant factors governing a motion to transfer venue in detail before

concluding that the factors in favor of transfer outweighed those against.

       While Plaintiffs purport to identify five clear errors, they are wrong as to each one. First,

Plaintiffs complain that Judge Bashant “[u]nfairly transferred the burden, difficulty, and expense

of litigation from the Defendant to the Plaintiffs.” Dkt. 29 at 10. Not so. To start, litigation is

not a one-way street in which defendants bear the sole burden. Wherever litigated, Plaintiffs will

bear some burden, difficulty, and expense. And Judge Bashant considered the burdens of the

parties in each venue. She acknowledged that litigation would be easier for the United States in

Washington, D.C. and easier for the Plaintiffs in California but concluded that the difference was

negligible. Dkt. 14 at 5-6. The Court agrees.

       Second, Plaintiffs complain that Judge Bashant “[f]ailed to properly assess [sic] and

evaluate the importance of the special venue provision which allows an FTCA claimant to file

suit in the venue in which she resides.” Dkt. 29 at 10. But Judge Bashant expressly considered



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the FTCA’s instruction on a plaintiff’s choice of forum, even highlighting, with citation to case

law, that it was “particularly true if plaintiff resides in that chosen forum.” Dkt. 14 at 4-5

(collecting cases). She acknowledged that this factor weighed against transfer but also found,

again with citation to case law, that this factor was “substantially diminished in this matter

because the conduct all occurred outside of California.” Id. Judge Bashant therefore did not fail

to assess or evaluate the FTCA’s venue provision. She did both and found that it weighed against

transfer but was not outcome determinative. The Court again agrees.

       Third, Plaintiffs claim that Judge Bashant “[i]mproperly weighed and gave greater

deference to local interest in this controversy, finding that the District of Columbia had a greater

interest in this matter than California.” Dkt. 29 at 11. To say that Washington, D.C. has a greater

interest here than California is putting it mildly. The events of January 6, 2021, cost an estimated

$2.7 billion5 and imposed untold hardships on D.C.’s government, first responders, and residents.

There was no clear error in Judge Bashant weighing the local interest factor in favor of transfer;

indeed, it might have been clear error to weigh it in favor of California or even call it a draw.

       Fourth, Plaintiffs assert that Judge Bashant paid only “lip service” to their choice of

forum and instead favored venue where the events giving rise to the action occurred. This, they

claim, “would essentially read the [FTCA’s] special [venue] provision out of law, requiring an

FTCA claimant to always file in the district where the injury occurred.” Dkt. 29 at 11. In

lobbing this claim, Plaintiffs willfully ignore Judge Bashant’s analysis, which addressed

numerous factors other than the site of the events.




5
 See U.S. GOV’T ACCOUNTABILITY OFF., GAO-23-106625, CAPITOL ATTACK: FEDERAL
AGENCIES IDENTIFIED SOME THREATS, BUT DID NOT FULLY PROCESS AND SHARE INFORMATION
PRIOR TO JANUARY 6, 2021 (2023).
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       Fifth, Plaintiffs claim that Judge Bashant “[e]ntirely ignored the weight and import of the

witnesses who shot video recording of the shooting at issue; all of whom are non-party critical

witnesses, and none of whom apparently reside in the District of Columbia.” Dkt. 29 at 11. Not

so. Devoting several pages of analysis to this issue, Judge Bashant highlighted that many non-

party witnesses live in the Washington, D.C. area. She also noted that because the witnesses

living outside Washington D.C. are “scattered across the country,” their location favored neither

venue. 6 She thus properly found that convenience of witnesses weighed significantly in favor of

transfer. Dkt. 14 at 6-10.

       Plaintiffs’ concerns with Judge Bashant’s conclusion not only fail on their own merits,

they ignore the entirety of her opinion. For example, Judge Bashant considered that Washington,

D.C. provides easier access to sources of proof because the events occurred here. Id. at 10. As

another example, she considered that the FTCA “incorporates substantive state law as federal law

to determine liability” such that D.C. tort law applies to aspects of this case. Id. at 10-11. And

because D.C. courts have more familiarity with D.C. tort law, she properly found that this factor

weighed slightly in favor of transfer. Id.

       Judge Bashant also considered two issues of judicial expediency: the possibility of

consolidating cases and the relative congestion of the two courts. As for consolidation, she noted

that no related actions were pending in Washington, D.C. And even though Plaintiffs had filed a

separate Freedom of Information Act (FOIA) action in the S.D. Cal., that action was

insufficiently like this case to make consolidation feasible. Thus, with “no sufficiently related

actions to consolidate in either forum,” Judge Bashant found consolidation neutral with respect




6
 These witnesses were present in the U.S. Capitol on January 6, 2021. Presumably, then, at
some point they found travel to Washington, D.C. feasible.
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to transfer. Id. at 12-13. As for congestion, Judge Bashant found that time to trial for civil cases

is similar in both districts, making this factor neutral as well. Id. at 13.

        All told, the only concrete item tying this case to California is the Babbitts’ residence in

San Diego. Mr. Babbitt’s preference to litigate close to home does not cast doubt on Judge

Bashant’s determination—based on an analysis of all relevant factors—that the appropriate

forum is Washington, D.C. And were this Court painting on a blank canvas, it would reach the

same result. That noted, the Court is not indifferent to Mr. Babbitt’s residency and that of other

third-party witnesses. And so it orders that the parties honor any request by Mr. Babbitt or third-

party witness to be deposed in his or her district of residency.

                                IV.   CONCLUSION AND ORDER

        For these reasons, the Court DENIES Plaintiffs’ Motion to Retransfer Venue to the

Southern District of California, Dkt. 21.

        To advance the interest of convenience for Mr. Babbitt and other witnesses residing in

California, the Court ORDERS that Mr. Babbitt and any third-party witness may request to have

his or her deposition taken in person in the district of their residency, and that counsel for the

parties will abide by such requests. This Court will retain jurisdiction over all depositions,

regardless of their location.

        SO ORDERED.

Date: January 15, 2025                                          _________________________
                                                                ANA C. REYES
                                                                United States District Judge




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